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     cj­ch ¢kjzkj­{k­jkj­{k­g¥­|z|z­k¡|hk­v­ ),+0­cj­¢c­¢||z­­¡|jk­c­ckk­¢|{­c­c¢¥k­kk­
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